       Case 1:25-cv-00164-JMC            Document 23         Filed 03/05/25        Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JERALD LENTINI, et al.,             *
                                    *
      Plaintiffs,                   *
                                    *
      v.                            *                  Civil Action No. 1:25-cv-00166 (JMC)
                                    *
DEPARTMENT OF GOVERNMENT            *
EFFICIENCY, et al.,                 *
                                    *
      Defendants.                   *
                                    *
*************************************
                                    *
AMERICAN PUBLIC HEALTH              *
ASSOCIATION, et al.,                *
                                    *
      Plaintiffs,                   *
                                    *
      v.                            *                  Civil Action No. 1:25-cv-00167 (JMC)
                                    *
OFFICE OF MANAGEMENT AND            *
BUDGET, et al.,                     *
                                    *
      Defendants.                   *
                                    *
*     *       *     *   *     *     *                  *       *       *       *       *         *

             PLAINTIFFS’ MOTION TO EXPEDITE BRIEFING AND
        ADJUDICATION OF THEIR MOTION FOR EXPEDITED DISCOVERY

       NOW COME Plaintiffs Jerald Lentini, Joshua Erlich, and National Security Counselors,

Inc., (collectively “Lentini Plaintiffs”) to respectfully move this Court to expedite the briefing

and adjudication of their Motion for Expedited Discovery, Dkt. #20, pursuant to the Federal

Courts Civil Priorities Act (“Priorities Act”), 28 U.S.C § 1657.

       It is well-established that a court “shall expedite the consideration of any action . . . if

good cause therefor is shown.” Id. § 1657(a). The Priorities Act specifically states, “For purposes

of this subsection, ‘good cause’ is shown if a right under the Constitution of the United States or
       Case 1:25-cv-00164-JMC             Document 23       Filed 03/05/25         Page 2 of 3




a Federal Statute . . . would be maintained in a factual context that indicates that a request for

expedited consideration has merit.” Id.

       As the Lentini Plaintiffs demonstrated in their Motion for Expedited Discovery and most

recently in their Notice of New Evidence, Dkt. #22, the factual background of this case is in a

constant state of flux, all due to the Government’s inconsistent positions regarding the nature of

the work Elon Musk (“Musk”) performs. Simply put, what Musk does and what authority over

the United States DOGE Service (“USDS”) he exercises is the core issue at the heart of the

Lentini Plaintiffs’ forthcoming preliminary injunction motion, which is grounded in their

statutory rights under the Federal Advisory Committee Act (which are continuing to be violated

with every day that passes). Therefore, allowing the Government to take its time responding to a

motion requesting expedited discovery which is urgently needed for a preliminary injunction

motion runs directly counter to the entire idea that preliminary injunction motions themselves

need to be resolved in an expedited fashion. This fact by itself would warrant expedited

treatment of the Motion for Expedited Discovery, even in the absence of the Priorities Act—

which equally clearly applies.

       The Lentini Plaintiffs respectfully request that the Court order the Government to file its

opposition to the Motion for Expedited Discovery no later than 12:00 PM on 6 March and order

the Lentini Plaintiffs to file any reply, if necessary, no later than 12:00 PM on 7 March, so that

the Court can have sufficient time to issue a ruling this week if it so chooses.

       The undersigned emailed Defendants’ counsel last night in an attempt to meet and confer

regarding this Motion, but has not received a response as of this writing. Accordingly, due to the

urgency of this matter, this Motion is being filed as an opposed motion. A proposed Order

consistent with the relief sought also accompanies this Motion.


                                                  2
      Case 1:25-cv-00164-JMC   Document 23    Filed 03/05/25     Page 3 of 3




Date: March 5, 2025

                                     Respectfully submitted,

                                      /s/ Kelly B. McClanahan
                                     Kelly B. McClanahan, Esq.
                                     D.C. Bar #984704
                                     National Security Counselors
                                     1451 Rockville Pike
                                     Suite 250
                                     Rockville, MD 20852
                                     501-301-4672
                                     240-681-2189 fax
                                     Kel@NationalSecurityLaw.org

                                     Counsel for Lentini Plaintiffs




                                     3
